USCA4 Appeal: 24-1650         Doc: 169              Filed: 09/27/2024      Pg: 1 of 4



                 UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                       DOCKETING STATEMENT--CIVIL/AGENCY CASES

        Directions: Counsel must make a docketing statement (civil/agency) filed entry in CM/ECF
        within 14 days of docketing of the appeal, or within the due date set by the clerk=s docketing notice,
        whichever is later. File with the entry the (1) docketing statement form with any extended answers
        and (2) any transcript order form. Parties proceeding pro se are not required to file a docketing
        statement. Opposing counsel who finds a docketing statement inaccurate or incomplete may file any
        objections within 10 days of service of the docketing statement using the ECF event-docketing
        statement objection/correction filed.

         Appeal No. & Caption             24-1885 MISO Transmission Owners v. FERC

         Originating No. & Caption Docket No. RM21-17-001, Building for the Future Through Elec
         Originating Court/Agency         Federal Energy Regulatory Commission


         Jurisdiction (answer any that apply)
         Statute establishing jurisdiction in Court of Appeals             16 U.S.C. 825l(b)

         Time allowed for filing in Court of Appeals                      60 days per 16 U.S.C. 825l(b)

         Date of entry of order or judgment appealed                       May 13, 2024; July 15, 2024

         Date notice of appeal or petition for review filed                September 13, 2024

         If cross appeal, date first appeal filed
         Date of filing any post-judgment motion
         Date order entered disposing of any post-judgment motion
         Date of filing any motion to extend appeal period
         Time for filing appeal extended to
         Is appeal from final judgment or order?                           F Yes               F No
         If appeal is not from final judgment, why is order appealable?




         Settlement (The docketing statement is used by the circuit mediator in pre-briefing review and
         mediation conducted under Local Rule 33. Counsel may make a confidential request for mediation by
         calling the Office of the Circuit Mediator at .)

         Is settlement being discussed?                       F Yes                     F No



        1/28/2020 SCC
USCA4 Appeal: 24-1650         Doc: 169             Filed: 09/27/2024         Pg: 2 of 4




         Transcript (transcript order must be attached if transcript is needed and not yet on file)
         Is transcript needed for this appeal?                 F Yes                      F No
         Has transcript been filed in district court?          F Yes                      F No
         Is transcript order attached?                         F Yes                      F No


         Case Handling Requirements (answer any that apply)
         Case number of any prior appeal in same case
         Case number of any pending appeal in same case            24-1650, Appalachian Voices v. FERC

         Identification of any case pending in this Court or
         Supreme Court raising similar issue
                                                                   If abeyance or consolidation is warranted,
                                                                   counsel must file an appropriate motion.
         Is expedited disposition necessary?                       F Yes                    F No
                                                                   If yes, motion to expedite must be filed.
         Is oral argument necessary?                               F Yes                    F No
         Does case involve question of first impression?           F Yes                    F No
         Does appeal challenge constitutionality of federal        F Yes                    F No
         or state statute in case to which federal or
                                                                   If yes, notice re: challenge to
         state government is not a party
                                                                   constitutionality of law must be filed.


         Nature of Case (Nature of case and disposition below. Attach additional page if necessary.)
         Petitioners seek review of Order No. 1920 issued by the Federal Energy Regulatory
         Commission (FERC). Order No. 1920 reforms FERC’s pro forma Open Access Transmission
         Tariff to revise FERC’s existing regional and local transmission planning and cost allocation
         requirements to facilitate longer term transmission planning. Among other things, the order
         mandates a reevaluation of certain Long-Term Regional Transmission facilities in a
         subsequent cycle, including that transmission providers consider updated benefits as part of a
         facility’s reevaluation. The MISO Transmission Owners sought rehearing of this aspect of
         FERC’s action that was deemed denied on July 15, 2024, by FERC’s failure to act timely on
         the MISO Transmission Owners’ rehearing request.
USCA4 Appeal: 24-1650          Doc: 169             Filed: 09/27/2024           Pg: 3 of 4




         Issues (Non-binding statement of issues on appeal. Attach additional page if necessary)

         By adopting in Order No. 1920 a reevaluation requirement that must take into account
         updated benefits, FERC acted in an arbitrary and capricious manner, contrary to record
         evidence and lacking in reasoned decision-making.

         FERC’s decision to require that the reevaluation of Long-Term Regional Transmission
         Facilities must take into account benefits as well as costs will create uncertainty and impede
         efficient planning. Moreover, FERC’s approach is inconsistent with the goals of Long-Term
         Regional Transmission Planning. FERC’s failure to explain adequately this new aspect of its
         final rule is arbitrary, capricious, and contrary to reasoned decision-making.

         FERC’s decision to add the requirement that benefits be taken into account during
         reevaluation of Long-Term Regional Transmission Facilities is not a logical outgrowth of the
         underlying Notice of Proposed Rulemaking, which included a flexible and broad proposal for
         transmission providers to address the selection status of Long-Term Regional Transmission
         Facilities based on results of subsequent planning cycles. Addition of a required
         reassessment of Long-Term Regional Transmission Facilities’ benefits is unanticipated and
         deprives interested parties of the requisite notice and comment opportunity.




         Adverse Parties (List adverse parties to this appeal and their attorneys; provide party=s address if the
         party is not represented by counsel. Attach additional page if necessary.)
         Adverse Party: Federal Energy Regulatory              Adverse Party:

         Commission
         Attorney: Robert Solomon                              Attorney:
         Address: Federal Energy Regulatory Commission         Address:
                     888 First Street, NE
                     Washington, DC 20426


         E-mail: robert.solomon@ferc.gov                       E-mail:

         Phone: 202-502-8257                                   Phone:

         Adverse Parties (continued)
         Adverse Party:                                        Adverse Party:


         Attorney:                                             Attorney:
         Address:                                              Address:




         E-mail:                                               E-mail:

         Phone:                                                Phone:
USCA4 Appeal: 24-1650          Doc: 169             Filed: 09/27/2024     Pg: 4 of 4




         Appellant (Attach additional page if necessary.)

         Name: MISO Transmission Owners                      Name: MISO Transmission Owners


         Attorney: Wendy N. Reed                             Attorney: Matthew J. Binette
         Address: Wright & Talisman, P.C.                    Address: Wright & Talisman, P.C.
                   1200 G Street, N.W., Suite 600                      1200 G Street, N.W., Suite 600
                   Washignton, DC 20005-3898                           Washignton, DC 20005-3898


         E-mail: reed@wrightlaw.com                          E-mail: binette@wrightlaw.com

         Phone: 202-393-1200                                 Phone: 202-393-1200

         Appellant (continued)
         Name: MISO Transmission Owners                      Name:


         Attorney: Abraham F. Johns III                      Attorney:
         Address: Wright & Talisman, P.C.                    Address:
                   1200 G Street, N.W., Suite 600
                   Washignton, DC 20005-3898


         E-mail: johns@wrightlaw.com                         E-mail:

         Phone: 202-393-1200                                 Phone:


                    /s/ Wendy N. Reed
         Signature: ____________________________________                            9/27/2024
                                                                         Date: ___________________

         Counsel for: _____________________________________________________________
                      MISO Transmission Owners


         Certificate of Service (required for parties served outside CM/ECF): I certify that this
                                    9/27/2024 by [ ] personal delivery; [ ] mail; [ ] third-party
         document was served on ____________
         commercial carrier; or [ ] email (with written consent) on the following persons at the
         addresses or email addresses shown:
         CM/ECF only




         Signature: s/ Wendy N. Reed                        Date: 9/27/2024
